 

Case 4:16-cv-01414 Document 677 Filed on 10/21/19 in TXSD Page 1of1

United States Courts
Southern District of Texas
FILED

OCT 21 2019

. David J. Bradley, Clerk of Court
Notice of Intent To éppear

October 21, 2019

Honorable Chief Judge Rosenthal
Chief United States District Judge

515 Rusk Street, Room 11535 Houston, Texas 77002

Dear Honorable Chief Judge Rosenthal,

| am writing to inform you of my intent to appear and speai on October 28", 2019 for the
Misdemeanor Bait Settlement case 4:16-cv-01414.

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